                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
vs.                                          )      Case No. 98-311-CR-W-GAF
                                             )
FABIO MONTANO,                               )
                                             )
                      Defendant.             )

           ORDER DENYING REQUEST FOR TRANSCRIPTS OF RECORD
                          AND COST TO OBTAIN

       Now pending before the Court is Defendant’s Request for Transcripts of Record and Cost

to Obtain. The Court having considered said request, it is

       ORDERED that Defendant’s request is denied.

                                                    s/ Gary A. Fenner
                                                    Gary A. Fenner, Judge
                                                    United States District Court

DATED: January 4, 2010




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